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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE COMMISSION,

                              Plaintiff,

                    v.
                                                           No. 1:23-cv-01599-ABJ-ZMF
BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS INC.,
AND CHANGPENG ZHAO,

                              Defendants.


          [PROPOSED] ORDER GRANTING MOTION FOR CONTINUANCE

       Upon consideration of Defendants BAM Trading Services Inc. and BAM Management US

Holdings Inc.’s (together, “BAM”) unopposed motion for a continuance, it is ORDERED that the

motion is GRANTED.       The hearing on the motions to dismiss in the above captioned matter,

which is currently set for January 18, 2024, is continued until January 19, 2024 at ___:_____ __m.




Dated: ___________________
                                                    Amy Berman Jackson
                                                    UNITED STATES DISTRICT JUDGE
